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 1                                   UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     PURE SWEAT BASKETBALL, INC.,
                                                     )   Case No: 3:20-cv-05792-EMC
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF ATTORNEY
              v.
                                                     )   PRO HAC VICE
 6   GOOGLE LLC, et al.,                             )   (CIVIL LOCAL RULE 11-3)
                                                     )
 7                                                   )
                                     Defendant(s).
                                                     )
 8
         I,   Robert F. Lopez                    , an active member in good standing of the bar of
 9       W.D. Washington          , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing:      Plaintiff Pure Sweat Basketball, Inc. in the
                                                                      Benjamin J. Siegel
     above-entitled action. My local co-counsel in this case is __________________________________,    an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13
      Hagens Berman Sobol Shapiro LLP               Hagens Berman Sobol Shapiro LLP
14    1301 Second Ave., Ste. 2000, Seattle WA 98101 715 Hearst Ave., Ste. 202, Berkeley CA 94710
       MY TELEPHONE # OF RECORD:                           LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (206) 623-7292                                      (510) 725-3000
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    robl@hbsslaw.com                                    bens@hbsslaw.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 21057        .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 08/20/2020                                                  Robert F. Lopez
22                                                                               APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of               Robert F. Lopez              is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: 08/20/2020
                                                                                 XXXXXXXXXXXJUDGE
                                                           UNITED STATES DISTRICT/MAGISTRATE

     PRO HAC VICE APPLICATION & ORDER                                                                  October 2012
